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                         EXHIBIT3--
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 1    Q. While the crowd was gathered at these                     1 crowd and the cops, the crowd, you know, we said,
 2 doors, the log jam, other than standing there,                  2 " Back up. Back up. Everybody back up." So
 3 what were you doing?                                            3 everybody in the crowd backed up to make room so
 4    A. Nothing.                                                  4 that Ashli Babbitt could get Medivac out past
 5    Q. Did you have your phone out?                              5 that crowd, out the way I had come in from the,
                                                                             ---                                -

 6    A. Yes.                                                      6 the rotunda. So then, I lost sight of what was
 7    Q. Did you videotape it?                                     7 going on, and then they, for some reason, they
 8    A. I tried to and later on, I, I real, I                     8 decided to switch it up and they decided to
 9 don't know, I must have pushed the wrong button,                9 medivac down the stairs. So they were medivacking
10 but I have very few images from when I realized                10 her down the stairs. Then reinforcements came
11 what was going on, that Ashli Babbitt had been                 11 around the corner the way I had come from the
12 shot, and the crowd reaction and the, the cop's                12 Rotunda, and they gave us orders to get out and
13 reaction. I took probably about six, attempts to               13 we immediately started going out.
14 take a, a still shots and video. I guess I just,               14    Q. You said 15 minutes, and I'll take that
15 I pushed the wrong button. They, they, I, they                 15 as an estimate, but you would agree you waited,
16 didn't take them. I didn't remove them, so.                    16 you were up in the area where this had occurred
17     Q. What kind of phone did you have at the                  17 for a good period of time?
18 time?                                                          18     A. Yes.
19     A. iPhone.                                                 19     Q. You would agree at that point you were
20     Q. How long had you had it?                                20 not looking for exit or attempting to exit the
21     A. I don't remember. I, I don't have that                  21 building?
22 phone anymore. I, I turned it over to the FBI.                 22     A. I would've liked to have exited the
23    Q. Got it.                                                  23 building, but at this point in time now, I was
24    A. I gave them, I gave them all of my                       24 talking, I was talking directly with people and
25 instructions on how to get into the phone and                  25 having, trying to have conversations with them to


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 1 they, they have that phone. I never got it back.                1 find out what they had seen and what had happened
 2 I granted them complete access to the phone.                    2 before that. I had not, I had not done that. I
 3     Q. What happens next? You heard the gun                     3 did that here.
 4 fire, take us what you did next.                                4     Q. What did you discuss?
 5     A. Okay, where do you want me to start?                     5     A. Well, there were three guys who
 6     Q. You heard gunfire, you were like, what                   6 apparently had seen Ashli Babbitt shot point
 7 was that?                                                       7 blank, and th~y were extremely distressed. So I
 8     A. Yeah, and I just stood there and I                       8 said, "What happened?" You know, what happened,
 9 didn't look. Then, you know, the, the, just the,                9 what, what was going on? Each of them gave me a
10 the sound of that, that crowd, got bigger and                  10 version of how Ashli Babbitt had been shot. One
11 bigger. So I looked around and approached to see,              11 guy was particularly distressed, and I asked him,
12 you know, what, what was going on. That's when I               12 and he was they were all walking away, they were
13 saw Ashli Babbitt. So, you know, there was                     13 walking away from, you know, the, the group of
14 discussion back and forth between the crowd and                14 people and just sort of, I think trying to, to
15 the cops. The cops were trying to medivac her                  15 deal with, you know, their reaction, their
16 out. The discussion was, would they take Ashli                 16 emotional reactions to what they had seen. So
17 Babbitt? Would they medivac her out towards us on              17 that's when I was talking with them, you know,
18 the landing, on the upper landing, or with a                   18 when we were apart from the, the crowd there.
19 medevac her down the stairs and out, which is the              , 19 Then I, I as I said, there was one, one fellow in
20 way that I had originally wanted to go? So that                  20 particular that, I, I knew, I said, oh boy, this
21 discussion went on, I don't know, you know, back                 21 guy is, he's, he's on the verge of PTSD.
22 and forth for a long time. I don't know, maybe 15                22    Q. Describe that guy?
23 minutes. So finally the cops decided and the                     23    A. He was, I, I think he had sort of
24 crowd decided that she should be medivac, backed               24 lighter brown, sandy, not blondish, but you know,
25 out, not down the stairs, but up past us. So, the              25 medium range blonde hair. What I remember is he




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 1 was very, very built, very, very muscular.                       1 seems like you got a lot left. I don't know. How
 2   Q. Did you ever attain his name?                               2 long are we going to go? I know, if you want to
 3   A. No, I didn't. But to make a long story                      3 take a little like lunch break because it seems
 4 short, he was the guy I walked out with because                  4 like you just starving.
 5 God was telling me, this guy's going to snap                     5             MR. LINK: I'm okay with lunch.
 6 David. Stay with him, you know, talk this guy                    6             DEPONENT: I have a, I have a hard
 7 down, lead him out of the building, you know,                    7 appointment at 4 o'clock with my literary agent.
 8 talk him down, don't let him get wound up. So                    8          MR. HUNT: We can discuss that.
 9 that, that's what I was doing. I walked out with                 9 You got to, I think they get seven hours or
10 him. I, I waited for him and I, I think I took                  10 something like that. So?
11 his arm a couple of times and put my arm around                 11            MR. LINK: Want to come back at
12 him a couple of times. I said, "It's okay. It's                 12 1:30p.m. I don't see the time?
13 okay. It's all right. It's okay." Oh, so anyway,                13            MR. HUNT: Yes, it's 12:56 p.m.,
14 that guy kept getting chucked by officers as we                 14 so 1:30 p.m. should work.
15 went. Every time he gets chuck, I, I was thinking               15            MR. LINK: Court reporter, are you
16 like, oh my God, this is like a test from God.                  16 reading that because you're not been part of
17 God is testing me. God is testing him. This is,                 17 this. You're okay with that?
18 this is not going to be good. Don't chuck him.                  18            COURT REPORTER: Yes, I'm fine
19 The cops kept, that guy got chucked about five                  19 with that. Right now the time is 12:57 p.m. and
20 times before we got to the, the door they wanted                20 we are off the record.
21 us to exit from. He got Chuck one last time and                 21 (OFF THE RECORD) (12:57 p.m.)
22 he turned and he was going to punch that police                 22 (WHEREUPON, a short break was taken.)
23 officer. I grabbed him, I jumped on him. I said,                23 (ON THE RECORD) (1 :38 p.m.)
24 "No, don't do it!" So, anyway, long story short,                24            COURT REPORTER: We are on the
25 that's the guy.                                                 25 record at 1:38 p.m.


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 1     Q. When you were up in the area, I guess                     1 CONTINUATION OF DIRECT EXAMINATION
 2 to call it the speaker's lobby, did you notice                   2 BY MR. LINK:
 3 the condition of the doors at any time?                          3           MR. LINK: The record will reflect
 4    A. I did not. I did not. I had no idea she                    4 We had a lunch break, 1:38 p.m. Dr. Kaufman, I'm
 5 had been shot through the glass that I, I,                       5 just going to follow up before I go on the
 6 that's, that I, I couldn't see, I couldn't see                   6 chronology. What kind of clothes were you wearing
 7 you know, because of the crowd. I only saw that                  7 on January 6th, while you were at the Capitol?
 8 when I saw on line a couple of years later I saw                 8    A. I think I was wearing jeans and I was
 9 online where the gun had, had gone off and gone                  9 wearing a favorite cold weather motorcycle
10 through the glass and shot Ashley. So I had no                  10 jacket.
11 idea of any of those details other than what I                  11    Q. The colors of that jacket are what?
12 had learned from those three fellows that I saw                 12    A. Red, white, and black.
13 as that, that were acting like, and talking like                13    Q. How long have you had that jacket?
14 eyewitnesses and, and me trying to engage them                  14    A. Since probably 2008.
15 and, and see what they had seen.                                15    Q. That jacket has some history to it as I
16     Q. Did you obtain the names of any of the                   16 understand it. Is that accurate?
17 people that you communicated with?                              17    A. Yes.
18     A. No.                                                      18    Q. This is, what history you had had with
19     Q. As we sit here today, do you know the                    19 that jacket?
20 names of anybody you were dealing with at that                  20    A. I had been in a motorcycle crash on it
21 location?                                                       21 with it.
22     A. No.                                                      22    Q. When was that?
23            MR. WABER: Hey, Mr. Link. It                         23    A. As I'm thinking back maybe 2010. I
24 seems like a good place. We're getting up on 1                  24 hadn't been on a motorcycle since I was a kid. I
25 o'clock, take a quick break. I don't know. It                   25 was out visiting a band member of mine in San




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 1 Francisco. We took a leisurely ride and luckily I                 1 snap. He was suffering from PTSD.
 2 bought a full outfit and then that day crashed.                   2     Q. This person was shorter stature than
 3 Haven't been on a motorcycle again since.                         3 you?
 4    Q. As I understand it, you attribute that                      4     A. I don't think so. I think it was maybe
 5 jacket to saving your life, it's affecting you?                   5 slightly bigger.
 6    A. Yes, definitely. But more the full face                     6     Q. You tend to learn that somebody by the
 7 helmet that I just bought.                                        7 name of Mr. Taylor Toronto? Are you aware of that
 8    Q. Not familiar with motorcycle jackets. I                     8 person?
 9 imagine they have extra padding in certain                        9     A. The only reason I, I know of that name
10 places?                                                          10 is from this lawsuit.
11    A. Yes.                                                       11     Q. When you gave your testimony earlier
12    Q. Where?                                                     12 about somebody who you thought was having PTSD
13    A. Elbows.                                                    13 like symptoms, that was not Mr. Toronto?
14    Q. Why did you choose that jacket to go to                    14     A. I, I think I saw an interview with Mr.
15 the Capitol building?                                            15 Toronto and that was not the man who I thought, I
16    A. Because it's warm, it's my favorite                        16 walked out with, with, who I thought had PTSD,
17 jacket.                                                          17 PTSD.
18    A. Any other reason?                                          18     Q. What was this man exhibiting that made
19    A. No.                                                        19 you think he had PTSD?
20    Q. You mentioned that you were present                        20     A. He was in, he was in shock and, you
21 when you heard the sound of gunfire. As a doctor,                21 know, he was going through significant emotional
22 did you do anything to, render aid or offer                      22 strain when he was talking about it, he kept, he
23 render to render aid at that point?                              23 kept talking about the fact that they had, that
24    A. Well, as I said, I'm not sure that I, I                    24 they had shot her, they had shot her for no
25 knew that it was gunfire. I, I, in fact, I think                 25 reason. It was just an impression, just an


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 1 at the time I wasn't sure that it was gunfire.                    1 impression I had about him.
 2     Q. Did you come to learn that there was a                     2     Q. You made your way towards the exit?
 3 shooting?                                                         3     A. Yes.
 4     A. Yes.                                                       4     Q. You made your way towards the exit
 5     Q. You said you hung around there for 15                      5 where Police officers in some way directing you
 6 minutes or so. You did learn what happened?                       6 to leave the exit?
 7     A. Yes.                                                       7     A. They were lining the corridor.
 8     Q. At that point or at some point, did you                    8     Q. What were they saying?
 9 offer to render aid or assistance?                                9     A. Not really anything.
10     A. No, I really couldn't get to the body                     10     Q. How did you know it was time to leave?
11 and she was getting, she was getting                             11     A. They told us, they said, you know, so,
12 resuscitation from the police. I've never done                   12 "Okay, everybody out," are words to that effect.
13 CPR, so I wouldn't want to have, you know,                       13 Again, we were lined up against the wall to make
14 complicated the works.                                           14 room for the, the medivac of Ashley Babbitt. Then
15     Q. You, where we left off in the                             15 I noticed that they were going the other way. It
16 chronology is, and I think this is where I was                   16 was at that point in time that the reinforcements
17 talking about. You came to learn that there was a                17 arrived and said, "Okay, everybody out!" We all
18 shooting, you were talking to people. What                       18 did. I did.
19 happened next?                                                   19     Q. Would it be fair to say that you were
20     A. Then were, the reinforcements arrived                     20 escorted out?
21 and ordered people to leave and we left, we were                 21     A. No, I would say we, we were leaving at,
22 leaving. I was walking alongside this, this                      22 of, around the court. The police were lining the,
23 fellow who had been an eye witness to Ashley                     23 the way out. but no, we were not escorted out. I
24 Babbitt's shooting. A little, a little voice told                24 was happy to be leaving.
25 me that he was going to have, he was going to                    25     Q. You said reinforcement arrived. Can you




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 1 describe the reinforcements that arrived?                         1    A. Yes, I do believe so. That was the only
 2     A. Yes. It was police officers in full                        2 time I saw any, any confrontation with police.
 3 riot gear.                                                        3 But the police, the reinforcements were chucking
 4     Q. They had arrived shortly after the                         4 people. That was the only conflict I, I saw with
 5 incident in front of the speaker's office?                        5 my own eyes.
 6     A. Yes.                                                       6    Q. Chucking meaning what?
 7     Q. Were these MPD officers?                                   7    A. Shoving them. Shoving people.
 8     A. I think so.                                                8    Q. Can you describe?
 9     Q. You agree that MPD officers have,                          9      A. Entirely unnecessary, because people
10 excuse me, clothing or lettering on their                        10 were, p~ople were filing out peaceably.
11 clothing that identifies them as MPD officers?                   11    Q. Is it your testimony that all the
12     A. Yes, but you've got to understand this                    12 communications between the rioters and the police
13 is sensory overload, so I'm not sure who they                    13 were peaceable as you made their exit that day?
14 were. I'm honestly, I'm not sure who they were.                  14    A. Well, there was, there was no threat of
15     Q. Many of them had helmets?                                 15 anybody doing anything. As I said, you know, at
16     A. Yes.                                                      16 the gallery there was a crowd there. they were
17     Q. Those helmets had shields on them?                        17 cooperating with police. There was a, you know,
18     A. Yes.                                                      18 discussion and uncertainty about how to medevac
19     Q. Many of them had their sticks?                            19 Ashley Babbitt out. Then they were going to come
20     A. Yes.                                                      20 up towards us and then they changed their mind
21     Q. Anything else you recall about how they                   21 and they started, you know, moving her down and
22 appeared?                                                        22 then reinforcements arrived and I saw, I saw with
23    A. Boots, knee pads, elbow pads, I believe                    23 my own eyes, I saw no other conflict. The only
24 they all had body armor.                                         24 other conflict I could say was the heated
25    Q. Body armor meaning what?                                   25 exchange between when I was first led into the


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 1     A. Kevlar.                                                    1 Capitol with the police and the man that I
 2     Q. Can you describe the trek you took from                    2 described before, who was engaging the police in
 3 the speaker's office to the exit? What happened?                  3 the discussion, you know, some sort of a, you
 4     A. We were, I was being, retraced on my                       4 know, heated discussion. I saw no other, other
 5 steps back towards the rotunda, but I guess they,                 5 conflict with police. Police were walking calmly
 6 they took us out on the house side entrance. I                    6 through the crowd, you know, through the
 7 had come in, in the main entrance and I believe                   7 corridors. You know, people were asking them what
 8 that they led us to the, or formed a, a corridor                  8 to do. I may have asked a police officer; how do
 9 to the house side entrance, the South entrance.                   9 I get out of here? He said something, but yeah.
10     Q. "They" being the police officers formed                   10 So until the reinforcements arrived, I saw no, no
11 a corridor?                                                      11 other engagements with the police.
12     A. Yes.                                                      12     Q. I'm sticking now with the time period
13     Q. Did you have an understanding as to why                   13 when you're exiting the building. I think you
14 they were asking anybody, everybody to leave?                    14 gave prior statements that your stepfather had
15     Q. It's pretty obvious, you know, get out                    15 recommended or taught you that when he tell you
16 of the building. You don't want the building                     16 to do something, you should do it. Is that...
17 damaged, you don't want people hurt.                             17     A. That was my stepbrother. My
18     Q, Did you see signs of damage?                              18 stepbrother, yeah. He always said, you know,
19     A. No. Thank goodness.                                       19 who's ever the most calm with the police wins.
20     Q. Did you see signs of the people getting                   20      Q, As you were exiting the building that
21 hurt?                                                            21 day, did you see your, the other individuals
22     A. Only Ashley Babbitt.                                      22 interact with the police in a calm and respectful
23     Q, When the time came for you to leave,                      23 manner?
24 were the police officers saying leave or words to                24     A. Yeah. Yeah. They were, they were
25 that effect more than once?                                      25 leaving the building and they weren't causing any




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 1 trouble, but the, as I said the cops were, were              1      Q. Tell us what happens next?
 2 chucking people and they chucked. This guy that I            2      A. We were walking, walking towards the
 3 was walking out with, that I was concerned about,            3 exit of the building, and the, the man I was
 4 he got chucked more than anybody else. I saw it              4 walking with was chucked, I think for about the
 5 was about five times, and every time I could, I              5 fifth time. As far as I was concerned, it looked
 6 could see him, you know, get spun up. I was like,            6 like he had snapped. He raised his fist up and he
 7 oh my goodness. Oh my goodness.                              7 was cussing at the officer, and he was, I was
 8     Q. Did you hear other members of the crowd               8 fully convinced he was going to hit him, and so I
 9 say to the police, get a real job or worse to                9 ju'mped on him to, to block his, to block his
10 that effect?                                                10 swinging the arm at the, at the police officer. I
11     A. Yes.                                                 11 said, "No, no, don't do it!" He did not.
12     Q. Did you hear these other people say,                 12      Q. Do you know what led up to the
13 you need to join us, you're on the wrong side, or           13 confrontation, or did you observe what led to the
14 worse to that effect?                                       14 confrontation between that person and the police
15     A. I don't, not that I recall.                          15 officer?
16     Q. What else, besides what you do recall,               16      A. Yes, I was walking out with him and he
17 did you hear them saying to the police as they              17 was chucked by the cops by about five times. You
18 were exiting the building that day?                         18 know, within steps of the door, the, the last one
19     A. Not really anything, you know, I was                 19 came and I, I, you know, you know, you had that
20 concerned with this, this, this guy I was walking           20 feeling if you knew it was going to happen.
21 out with, and you have to understand sensory                21      Q. Then what happened?
22 overload, you know, you can only absorb so much.            22      A. After, when I jumped on him, I was
23     Q. What was the exit you were being led                 23 pulled from behind and I have no idea who pulled
24 to?                                                         24 me, but it just became like a mash pit and I was
25     A. I believe it was the house side                      25 being pulled from all sides, and I was just


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 1 entrance. So there's the senate side entrance on             1 trying to, I was just trying to spread eagle my
 2 the north end of the building, the main portico              2 legs and bend at my waist and, and spread my
 3 and the middle, and the house side, which is on              3 hands out and grab onto people and grab onto
 4 the south side.                                              4 anything I could to prevent from losing my
 5    Q. At any point, while you were not on the                5 balance and going, going down underneath people's
 6 quarters, did you have any interaction with the              6 feet.
 7 police before you got to the final exit part?                7     Q. Then what happened?
 8    A. Yes, I was chucked by a police officer.                8     A. I was, you know, pulled in every, every
 9    Q. How did you respond to that?                           9 conceivable direction and I was just trying to
10    A. Well, you know, with the Ashley Babbitt               10 keep my balance. Then I was pulled violently from
11 upset, and, you know, I mean, I'm talking to                11 behind and my jacket was coming up over my h_ead
12 these people who claimed that, you know, she was            12 and it just followed with the pole and stood up
13 shot for no reason in cold blood. I was a little            13 and walked out of the building.
14 upset.                                                      14     Q. When you say you stood up, were you on
15    Q. Did you say ...                                       15 the ground?
16    A. I might have said, I think I might've                 16     A. No, no. I bent the knees bent at my
17 said something. I, I think I might've said, you             17 waist, you know, and, and just trying to not, not
18 know, don't push, me something like that.                   18 go down underneath feet and boots and stuff.
19     Q. "Dude get your fucking hands off me                  19     Q. Do you remember any words that you used
20 son!" Like something you would've said?                     20 while you were in that part of, during that
21    A. I don't think so.                                     21 encounter that you just told us? Do you remember
22     Q. You said you were upset?                             22 any words that you used?
23    A. So, I, I'd say, you know, it's, it's                  23     A. No.
24 really straining, you know, to, to you know, to             24     Q. Did you say anything?
25 have seen that.                                             25     A. I don't think I said anything.




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 1     Q. Well, when the police officer had this                   1 become very heavy and hard to move. One of my
 2 encounter with the gentleman who you were taking                2 friends described it as like an old dog that
 3 under your wing so to speak, did you say anything               3 doesn't want to get up from its nap. So, you
 4 at that point?                                                  4 know, you relax and you, you spread out and you
 5    A. Only to the, to the man. I was
                    -              ----   -
                                                                   5 bend your knees and yes, I definitely think it
 6 concerned about the PTSD guy. All I said was,                   6 helped me.
 7 "No, don't do it!"                                              7    Q. How about, I think when we started this
 8     Q. Anything else ...                                        8 deposition a few hours ago, you said that Tai Chi
 9     A. No.                                                      9 can be used for defense, self-defense. Did you
10     Q. ... you recall saying?                                  10 view that, your skills at Tai Chi being useful in
11     A. No, I didn't recall him saying anything                 11 terms of how you were interacting with everybody?
12 else.                                                          12     A. Well, you know, we call it rooting or
13     Q. Any other remarks, statements, verbal                   13 sinking, you know, relax and sink. I was just
14 things that you remember hearing while you were                14 trying to relax and sink as best I could and
15 in that situation?                                             15 spread out as best I could and grab a hold of
16     A. I was just trying to keep my feet. My                   16 anyone, that was, you know, pushing or pulling
17 mom died in December 21st this past year, and she              17    me.
18 had accelerated Alzheimer's from a head wound                  18      Q. You say relax and sink, like S-I-N-K?
19 that we, we never figured out what happened. My                19      A. Yes. Relax and sink.
20 thought was, don't go down, don't smack your head              20      Q. What does that mean?
21 on that marble or a knee pad or a boot or                      21      A. Through years of, of practice in Tai
22 anything else. I was just trying not to, not to                22   Chi, you become very, very, it's hard to
23 go down.                                                       23   describe.
24    Q. Do you remember the police officer                       24      Q. You exited the building after that
25 saying anything while this was going on?                       25   encounter?


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 1     A. In this stretch of time where I'm just                   1    A. Did I enter the building after that
 2 trying not to lose my balance?                                  2 encounter?
 3     Q. The stretch of time is what, just for                    3    Q. You exited?
 4 clarity's sake, I'm only focused on the stretch                 4    A. Yes, I exited the building.
 5 of time where you were in the exit of the                       5    Q. Would you agree you were thrown out,
 6 building?                                                       6 pushed out, forced out of the building?
 7     A. Did a police officer say anything to                     7    A. No, you know, there was just that, just
 8 me?                                                             8 that, you know, when somebody grabbed me from
 9    Q. Do you recall the officer saying, "Move                   9 behind and, and you know, I just felt like a, you
10 back. Move back," repeatedly?                                  10 know, different people were, were grabbing me
11    A. No.                                                      11 from all directions. I had no idea who it was or,
12    Q. Are you saying that didn't happen or                     12 you know, if it was, if it was police or if it
13 you just have no memory of it?                                 13 was protesters. I had no idea. I was just being,
14    A. I don't remember anything, anybody                       14 you know, pulled and turned and I was just trying
15 saying anything to anyone, to me or anything. I                15 to hold my balance. So somebody pulled on me
16 was just trying. to keep from smacking my head on              16 really hard and they pulled me in the direction
17 something.                                                     17 of the doors. I don't think it was a police
18    Q. You were trying to keep your balance?                    18 officer because the police officers were to the
19    A. Yes.                                                     19 side and this was more an of a direction from the
20    Q. Did you find your Tai Chi skills were                    20 protesters, or maybe another protester was trying
21 useful while you were doing that?                              21 to save me. I don't know. But anyway, I was
22    A. Definitely.                                              22 pulled very strongly from behind and I turned
23    Q. How so?                                                  23 with it and then stood up and walked out. So I
24    A. That's sort of like the, the, the                        24 was not escorted out, I was not pushed out, I was
25 center of, of Tai Chi as a martial art is you                  25 not dragged out. I caught my balance and walked




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 1 out. The only reason I, I stopped at all or there                 1     Q. But I'm, I recall that the FBI asked
 2 was any delay was I, I could not let that guy                     2 you about some YouTube interview that might have
 3 haul off and hit a police officer.                                3 been present, before you met with them. Do you
 4     Q. When you got outside, did you notice                       4 recall them asking you that?
 5 whether you had any injuries?                                     5     A. Yes, they had asked me. It was, I think
                                                                                                                           -   -

 6     A. I, I don't notice that I had any                           6 they're talking about, and what I'm responding to
 7 injuries. I've never thought about it but to my                   7 is in reference to that, as I understand it. They
 8 knowledge I never had any injuries.                               8 said that there were some clips, video clips of
 9    Q. As we sit here today, do you know the                       9 me on my instructional Tai Chi website that had
10 names of anybody who was present when you had                    10 been done and that were done by one of my
11 this encounter at the exit that day?                             11 students. I removed them because I just, I wanted
12     A. No, I know the names of no one.                           12 everything I could clean everything I could 1
13     Q. I take it you've watched video of the                     13 because I was getting death threats and people
14 exit of the building that day?                                   14 around me were afraid of me being killed because
15    A. Yes.                                                       15 of the accusation that I was a cop killer.
16    Q. Looking at the video, do you recognize                     16     Q. You're telling us here today that you
17 anybody?                                                         17 removed the interview from the YouTube channel?
18     A. No. I know it's all there as I've                         18     A. Yes. It was on, it was on Tai Chi. It
19 described it.                                                    19 had nothing to do with the January 6th.
20    Q. The statements that I'm aware of that                      20     Q. Why would you remove something about
21 you have given in connection with what happened                  21 Tai Chi?
22 that day are one; you gave a statement to the FBI                22     A. Because it was helping to identify me
23 and two, you gave some type of statement by a                    23 and Capitol Hill and, just giving details about
24 talk show by the name of David Shilling or                       24 me that I wanted, I, I didn't want out there, so
25 Schiller?                                                        25 I had those under my control and I took them


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 1     A. The Shilling Show.                                         1 down.
 2      Q. Other than those two statements, have                     2   Q. Did you have a student who ran your
 3 you given any other statements about what did or                  3 YouTube channel?
 4 didn't happen that day. Dr. Kaufman?                              4   A. Yes.
 5     A. Well, I didn't give an official                            5     Q. Who was that?
 6 statement, but one day I was at lunch at a                        6     A. Bettina Staff.
 7 sidewalk cafe and inside of the Capitol and a                     7     Q. Do you still have a YouTube channel?
 8 couple of reporters were there, and they were                     8     A. I'm not sure. I'm, I'm trying, to
 9 asking us as neighborhood people, and I didn't                    9 trying to convert everything into one place in
10 tell them who I was, or maybe, maybe I did, but I                10 one website. So we're doing that now. I'm not
11 didn't act, I didn't say that, you know, I had                   11 very technical about these things, so I'm not
12 been in there, but I was just talking about it                   12 sure if the, if the Tai Chi website is still up
13 from the neighborhood standpoint and what I had                  13 or not, but it's going to be pulled into another
14 heard about it. I'm told that that has surfaced                  14 website.
15 somewhere. So that's out there somewhere.                        15    Q. When the FBI asked about this issue, do
16     Q. Surfaced on public media like a YouTube                   16 you remember telling them that you did not knG>w
17 thing?                                                           17 how that YouTube channel came to be deleted?
18    A. I only heard about it secondhand.                          18    A. Well, I, I just, you know, technically
19     Q. When you mentioned it was surfacing                       19 speaking, I know, you know, I told, I told Bet to
20 somewhere, where had it surfaced to?                             20 take it down.
21     A. I don't know. I just heard that, that                     21    Q. Today you're telling us that you
22 someone said that they had seen me answering,                    22 directed somebody to take that down?
23 answering some questions. I never saw it myself,                 23    A. Yes.
24 so just, I'm just being technical if that might                  24    Q. You're telling us you were aware at the
25 be out there.                                                    25 time that you were, wanted to take it down?




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 1     Q. Yes, yes. I think that she had done a,                     1 you mentioned that you had developed blue Baboon
 2 a quick interview with me and I was in my                         2 fleet after January 6th. Is that the term you
 3 motorcycle jacket, and that's how I was                           3 used?
 4 originally identified. So, knowing that thread, I                 4     A. That I had developed what?
 5 said, we better take that down.                                   5     Q. Baboon fleets?
 6     Q. Why did you not want to be identified?                     6     A. Oh, oh, well, yeah. Maybe sometimes I
 7     A. Are you kidding?                                           7 get, creative in my, in my verbiage. Yeah. You
 8     Q. I'm asking?                                                8 know, death threats and, coming to my house and
 9     A. Well, you know, I've gotten over 30                        9 taking pictures and maybe they were going to post
10 death threats. So I'm just trying to, you know,                  10 it online.
11 erase the, the trail if that's how they found me.                11     Q. Going back to what happened in the exit
12 Well, I don't want to help any other whack job                   12 way that day. Do you have any recollection of any
13 try and find me.                                                 13 encounter with any particular police officer?
14    Q. Was there anything else on your YouTube                    14     A. No.
15 channel or your social media that you deleted                    15     Q. I'm going to try to share my screen.
16 besides that?                                                    16            MR. WABER: We'll see how good you
17    A. No.                                                        17 really are, Link.
18    Q. Did you delete any videos that you took                    18            MR. LINK: You got jokes.
19 on January 6th, 2021?                                            19            MR. WASER: I've struggled with
20    A. I don't, I never posted any videos, but                    20 this for the last year.
21 I never deleted them from my phone and the FBI                   21            MR. LINK: Can anybody see; can
22 had, you know, all that I had.                                   22 the members see this?
23    Q. After January 6th, 2021, you still                         23            MR. HUNT: I can see; I can see
24 considered to see patients in your office in                     24 it.
25 Washington, DC?                                                  25           MR. LINK: All people can see it?


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 1    A. Yes. Yes.                                                   1 Okay. I'm going to stop here and for clarity's
 2    Q. Did you, did they ask you about your                        2 sake, I am at frame 21. Everybody can see there's
 3 involvement in the events of that day?                            3 a number in the lower right margin? Hello?
 4    A. No. Some of the Republican students,                        4 (WHEREUPON, the Deponent examined the document
 5 patients would say, "Are you okay?" No. No one,                   5 previously mentioned.)
 6 no one really brought it up but distinctly I saw                  6     A. I see a number. I see two, two images,
 7 a drop in my patient volume, lost a lot of long                   7 two frames, and one of them has identification
 8 time patients.                                                    8 marks in the upper right. The one the, the image
 9     Q. None of your patients ever discussed                       9 on the left has identification marks on the upper
10 this issue with you?                                             10 right.
11     A. Nothing that I, I really remembered.                      11     Q. There's a page number at the bottom. Is
12 But then I think I saw from your side that you                   12 that visible to everybody?
13 had a couple of people who were going to say                     13     A. I don't see a page number.
14 that, you know, I discussed with them, and I                     14            MR. WASER: Mr. Link, we can see
15 think I only discussed it in general terms to my                 15 your cursor, so if you just want to move your
16 knowledge at the time. You know, I, I don't think                16 cursor to where.
17 that they, that, you had accused me of being a                   17            MR. HUNT: Yes, I can see that.
18 cop killer yet.                                                  18 You mean that 21? I can see it, but just for the
19     Q. The answer is you have no memory of                       19 record, I don't know if you want to offer, you
20 that this coming up in your conversation with                    20 got two things up here. You want to just explain
21 patients?                                                        21 what they are?
22     A. No. I can remember two, two                               22            MR. LINK: Yes, I'll do that. I
23 conversations but they were pretty, like I said,                 23 just want to make sure we can see first. Yes, so
24 they were rather general.                                        24 I'm offering, this is a synchronized video from
25     Q. In your interview with David Shilling,                    25 Brent Fredericks, the left being a body came from




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 1 Jeffrey Smith, the right being a public access                    1 we are when and where we are.
 2 video, the surgeons.                                              2      Q. If I scroll through, I'm going to
 3            MR. HUNT: A public access video                        3 scroll through this, and if I'm going to ask you
 4 that's not from the government.                                   4 after I scroll through this, if this helps
 5            MR. LINK: Correct.                                     5 orientate you as to what, as far as where you
                                                                                      -   -

 6            MR. HUNT: Yes. We would object to                      6 are?
 7 that for the record, but go ahead.                                7      A. Can you just let it run?
 8            MR. LINK: Well, right now it's                         8      Q. This is a PDF. No, not this one. I can
 9 just offering it for purposes of identifying what                 9 show you something else.
10 I'm showing the witness.                 \
                                                                    10      A. Okay. Yeah, there we go. Now you can
11 CONTINUATION OF DIRECT EXAMINATION                               11 see I'm, I'm sort of, losing, losing my feet
12 BY MR. LINK:                                                     12 here. So yeah, that was probably the guy, after I
13     Q. Dr. Kaufman, do you see yourself in the                   13 had, jumped on him. So yeah, this looks like
14 image on the screen?                                             14 where I'm being pushed and pulled all over the
15     A. Yes.                                                      15 place.
16     Q. I think, what the expert did is, showed                   16      Q. Let me back up then. I wanted to
17 you and red and officer by the name of Jeffrey                   17 orientate you. I'm at screen 69. Do you see that?
18 Smith and Blue, somebody by the name of Taylor                   18      A. Yes.
19 and Green, and I think you said you see these                    19      Q. Does that orientate you and my question
20 marks?                                                           20 is the gentleman with apparently brown, sandy
21     A. Yes.                                                      21 hair, is that the one that you were concerned
22     Q. You see these marks?                                      22 about?
23     A. Yes, I do.                                                23   A. That that could be him.
24     Q. What you see on the screen, which is                      24    Q. Now that you're looking at this, what
25 page 21 of the document I just identified, does                  25 were you doing and thinking at this particular


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 1 that appear to be you?                                            1 moment?
 2     A.   Indicated by the red line?                               2    A. I, I don't recall. If that's the guy
 3     Q. Yes.                                                       3 and you know, he, I had stopped him. You know, I,
 4     A. Yes.                                                       4 I don't recall at all. But like I said, I, I just
 5    Q. I going to s~roll forward. I am now                         5 started feeling myself getting moved around and I
 6 stopping at page 38. Do you see page 38?                          6 was just trying to stop from being, from falling.
 7     A. Yes.                                                       7      Q. The person to your right, do you
 8     Q. Is that you? I'm looking on the right                      8 recognize that person?
 9 picture. That's you?                                              9      A. I do not.
                                                                                                                            -
10     A. Yes.                                                      10      Q. Do you know that, do you know, do you
11     Q. There's a gentleman who is, let's say,                    11 recognize the Tyler Toronto?
12 wearing a leather jacket with what appears to be                 12      A. I, I wouldn't know, I wouldn't know Mr.
13 somebody's hand on their backside. Do you see                    13 Toronto.
14 that? On my cursor there?                                        14      Q. Would you agree at the beginning of
15    A. Okay. Okay, so the yellow sleeve, black                    15 the, would you agree that you had almost reached
16 border with a hand, right?                                       16 the exit and then turned around while you were in
17    Q. I just want you, is it, does this                          17 the exit way?
18 appear to be the person you've been talking                      18      A. Yes.
19 about? Who is the one you thought was getting                    19      Q. Why did you turn around?
20 PTSD? Or my question is ...                                      20      A. Because he was going to hit a cop.
21    A. I have, I have no idea because I don't                     21    Q. Do you recall again, what, the word he
22 know what the orientation here is.                               22 were, I just want to make sure when we go back
23    Q. I'm on picture 49. Does that help you                      23 and read this some, we know what we're talking
24 anymore?                                                         24 about. I would call him the gentleman in the
25    A. No, I still, I still am not sure where                     25 leather jacket because it appears that's what he




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 1 was wearing. That leather jacket person, did you                 1 gentleman with the leather jacket. You see that?
 2 recall him saying or screaming anything?                         2 Hello?
 3     A. Yeah, he was screaming at the cop. He                     3      A. Yes.
 4 had his fist raised and it seemed like he was                    4      Q. At this particular point, frame 119,
 5 right on the verge of hitting the cop. He was                    5 having looked at this, does this, do you have any   -

 6 yelling at the cop right in his face.                            6 memory of what you were thinking your thoughts
 7     Q. What were the words that were being                       7 were at this point?
 8 used between the two of them?                                    8      A. No.
 9     A. I don't, I don't remember.                                9      Q. Would it appear to you that the, did it
10     Q. You would agree as the video moves                       10 appear to you that the person in the leather
11 forward that you move away from the exit, which                 11 jacket was being somewhat aggressive towards the
12 would've been behind you towards the building?                  12 police?
13    A. Well, it looks here like I'm being                        13    A. Well, from this video, yes. But from my
14 pushed.                                                         14 perspective down in the crowd, I don't have any,
15    Q. I'm just asking first of all that your                    15 I don't have any, any memory of that, any
16 movement was away from the door. Would you agree?               16 perspective or any, any memory of it. In my mind
17     A. I don't know where the, the door is. Is                  17 it was, I stopped him and then I was trying to
18 the door behind me?                                             18 keep from going down.
19     Q. I will help you with that.                               19    Q. I'm going to scroll forward. I think
20    A. I hope we both agree that I'm not                         20 you've told us worse to the effect that you were
21 really in control of where I'm going at this                    21 pulled forward or pulled into this is. Is that
22 point.                                                          22 your testimony?
23     Q. I'm just trying to establish, you know,                  23    A. Well, I would say that, you know, it's
24 where, I'm talking about where the door is.                     24 sensory overload and basically, I, I remember
25   A. I have no idea where the door is. So                       25 three steps trying to stop him, trying to keep my


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 1 I'm assuming this metal frame with the light on                  1 balance being pulled from behind, regaining my
 2 it, that's the door?                                             2 balance, and leaving the building.
 3      Q. Think I could safely represent as a                      3      Q. Let we scroll forward on 163 forward.
 4 metal detector was, I was going to try to leave                  4 This video on the right, do you see yourself
 5 you to where the direction of the door was.                      5 being pulled or pushed?
 6     A. Yes.                                                      6    A. My body is acting like it is. Yeah.
 7     Q. I guess this, the image on your left on                   7    Q. You know where you stand spatially your
 8 that page number 574 on the left is a body                       8 body was moving towards the exit door?
 9 camera. Does that help orientate you as far as                   9      A. Yeah.
10 where the door is?                                              10      Q. The video on page 221. Do you
11     A. Is, is that the door in the background?                  11 acknowledge that maybe you have a particular
12     Q. With the bright lights?                                  12 memory, but you had some type of encounter with
13     A. Yes.                                                     13 one of the police officers who was standing right
14     Q. That appears to be you to the right of                   14 in front of you?
15 the screen on the left picture?                                 15     A. No.
16     A. Yes.                                                     16      Q. You don't remember that?
17     Q. I just want to scroll through while I                    17      A.. No.
18 went all the way down here so you can just                      18      Q. You did see a bunch of people who were
19 orientate yourself as far as where we are in the                19 there with their either cell phones or some other
20 building. Dr. Ka~fman, does that help orientate                 20 type of recording equipment that day. Do you
21 you?                                                            21 remember that?
22     A. Yes. Yes.                                                22    A. No.
23     Q. I have to take myself take it back to                    23      Q. You don't recall that? You don't
24 the beginning. I'm going to stop here at 118, and               24 dispute that?
25 the cursor, I have on Dr. Kaufman and on the                    25      A. No.




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 1     Q. You don't dispute that, do you? That                       1 MPD police officers and protesters at about 2:56
 2 people have recording equipment out?                              2 p.m., as you recall on January 6th, 2021?
 3     A. Do I dispute that people have recording                    3      A. Yes.
 4 equipment out?                                                    4      Q. Have you've been in the Capitol, you
 5    Q. Correct.                                                    5 worked in the Capitol and the architecture, the
 6     A. I don't know.                                              6 lighting, the paneling, the marble, does that
 7     Q. I am showing you frame number 267,                         7 appear to be inside the Capitol, US Capitol
 8 you're going to see yourself in the red and white                 8 Building?
 9 jacket on the right side?                                         9    A. Yes.
10     A. On the, on the right side, yes.                           10      Q. I am stopping at frame number 285,
11     Q. In blue there is well represent is                        11 actually 286. I'll stop at. Do you recognize,
12 Officer Jeffrey Smith. Do you see that?                          12 that's, appears to be your red and white
13     A. I'll take your word for it.                               13 motorcycle jacket on the body-worn camera on your
14            MR. HUNT: Objection. Counsel                          14 left?
15 knows he's not allowed to testify.                               15      A. Yes.
16     Q. Well, do you have any reason to dispute                   16      Q. On the right side, there was an open
17 that's Jeffrey Smith?                                            17 source video. Now that you look at this, do you
18     A. Of course. I don't know what Jeffrey                      18 remember, if not the details, the substance of
19 Smith looks like. I have no idea who that is.                    19 any words that were being exchanged between you
20   Q, Fair enough. Do you agree that you had                      20 and the police officers who were on the scene?
21 an interaction with the police officer who's got                 21      A. No.
22 a blue line on them that day?                                    22    Q. Without asking the substance of what
23     A. Not that I recall at all.                                 23 was said, were words being exchanged between you
24     Q. I'm going to start; I'm going to stop                     24 and the police officers?
25 at page 282 on the left side of the screen. Is                   25      A. No, not that I'm aware of.


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 1 that you?                                                         1    Q. Do you agree that the police officers
 2     A. Yes.                                                       2 had their batons out?
 3     Q. The timestamp on the body cam is                           3      A. Yes.
 4 14:56:36. My question is; do you recall that you                  4      Q. It was your testimony given earlier
 5 were exiting the building that day at                             5 today that you observed that the police officers
                                                               I
 6 approximately 2:56 p.m.?                                          6 were trucking people or to that effect?
 7     A. Yeah, I was trying to exit the building                    7      A. Yes.
 8 at about that time.                                               8    Q. Do you recall as I drill through this
 9     Q. You were there, just was shown in 282                      9 screen number 288 to 294 that the officer who is
10 on the right, fairly and accurately show what the                10 standing in front of you made contact with your
11 scene of the lobby or exit way was that day at                   11 left shoulder?
12 about 2:56 p.m.?                                                 12      A. No.
13     A. Yes.                                                      13      Q. If it occurs on the video, do you have
14             MR. HUNT: Objection.                                 14 any reason to dispute it?
15             MR. LINK: What's the objection on                    15            MR. HUNT: Objection to the form
16 that?                                                            16 of question. Again to the public access video.
17             MR. HUNT: Well it's a public                         17            MR. LINK: You can have a standing
18 access video, so, a larger authenticity                          18 objection. We can deal with authenticity later,
19 objection. No objection to the body-worn camera                  19 but I just...
20 video supplied by the government.                                20            MR. HUNT: You can, he might need
21 CONTINUATION OF DIRECT EXAMINATION                               21 to ask the question again. Mr. Link, I'm sorry. I
22 BY MR. LINK:                                                     22 think Mr. Kaufman; Dr. Kaufman is kind of got a
23     Q, Do you recall that the exit way, and                      23 loss there.
24 I'm calling it the exit way because I don't know                 24 CONTINUATION OF DIRECT EXAMINATION
25 if it has a better terminology, was filled with                  25 BY MR. LINK:




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 1     Q. My question is what, there is a, page                     1 make it clear from up to 387, it looks like
 2 285. On screen, page number 285, I was asking you                2 there's a jacket on top of jeans?
 3 whether you recall that the officer in front of                  3      A. Yes.
 4 you had made contact with you, and my next                       4      Q. You see there's a baton in frame number
 5 question is if it appeared on the video, would                   5 386?
 6 you have any reason to dispute it?                               6    A. That's on the left?
 7     A. I don't have any recollection of, of                      7      Q. Correct.
 8 any particular person touching me at any                         8      A. I don't see a baton. Oh, yeah, yeah.
 9 particular time. I would not dispute that I was                  9 Okay. Yes, I see that.
10 being touched.                                                  10   Q. What were you doing with respect to the
11     Q. Going forward, would you agree that as                   11 batons as you were in this scene?
12 we scroll forward from 288, that you're moving in.              12      A. I can't see that I'm doing anything.
13 the direction of the police officer who's                       13      Q. Frame number 388, I'll represent to you
14 standing in front?                                              14 that there's going to be an expert witness who
15     A. Where's 288?                                             15 says that's your left hand on the baton. I just
16     Q. Two, I'll start at 288.                                  16 want to offer you the chance. Do you have, do you
17     A. Is this 288?                                             17 agree, disagree, or can't say?
18     Q. Yes                                                      18    A. Where's my left hand? Oh, there? Okay.
19     A. All right. I would say I was being                       19 That's, that's supposed to be my hand?
20 pushed towards the police officer.                              20   Q. Yes. I'm going from ...
21     Q. Do you know where the pushing came                       21      A. I've got, I've got...
22 from?                                                           22      Q. ... thirty-eight...
23     A. Well I'm losing my balance towards the                   23    A. ... recollection and it's the, the
24 police officer.                                                 24 picture's so tangled that, but anyway, I have no
25     Q. I am scrolling this. I had asked you                     25 recollection, no recollection.


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 1 this a moment ago about another screen, but on                   1    Q. Just, I'm going to go from 384 forward
 2 page 305, it appears you're standing face to face                2 to 390. Do you have any reason to dispute that
 3 with the officer who is highlighted in blue?                     3 you were grabbing onto officer's baton?
 4    A. Are we rather face to face here? You're                    4      A. Well, I was just trying to grab
 5 asking me?                                                       5 anything to stop getting, you know, pitched
 6    Q. Do you agree with that?                                    6 around, you know, before I had, you know, gone
 7     A. Yes.                                                      7 through being squeezed in a crowd and you know,
 8     Q. Any words exchanged, anything you                         8 where you can't breathe. So I'm just trying not
 9 remember about this encounter?                                   9 to, just trying to keep my feet in any way that I
10     A. No.                           I
                                                                   10 could.
11     Q. I'm going to stop again at frame number                  11      Q. When you're, when, I'm showing you now
12 380. On the left is a body camera on the right,                 12 frames number 399, 398 to 399, do you agree or
13 it appears to be the public source video. Do you                13 disagree that your left hand on the baton and I'm
14 see your white and red jacket on the body cam on                14 going to put a cursor?
15 the left?                                                       15      A. I can't tell.
16     A. Yes.                                                     16      Q. Do you dispute that you were using your
17     Q. Those appear to be the jeans you were                    17 hands to swing the baton in the direction of the
18 wearing?                                                        18 police officers who were standing in front of
19     A. Oh, I don't know.                                        19 you?
20     Q. Were you, while you were standing here,                  20    A. Yes, I do dispute that.
21 we were scrolling a little bit past...                          21      Q. Why?
22    A. Those, those are legs down there. Okay.                   22      A. Because I didn't do it. It didn't
23 Yeah, I don't know if those are my jeans, but                   23 happen. It would be insane to do it.
24 it's so confused. But yeah, I, I see my jacket.                 24      Q. Did the baton that the officers were
25     Q. Are you, I'm just making it, trying to                   25 wielding strike any police officers as you were




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 1 engaged in these encounters?                                    1   Q. When you were moving your arms and
 2     A. One more time?                                           2 hands that day, did you move your hand and arm
 3     Q. Did the baton strike the police officer                  3 away from the, from your body towards the police
 4 in front of you?                                                 4 officers?
 5     A. Did the baton you are indicating with                     5     A. No, my intention was don't fall.
 6 the cursor?                                                      6     Q. I'm at frame number 421. I'm looking at
 7     Q. Correct?                                                  7 the screen on the left, at the body cam video. Do
 8    A. I have no idea. I can assure you, you                      8 you agree that that's your hand on the baton?
 9 don't have any video of me hitting anybody.                      9     A. I agree that that's my motorcycle
10    a. I'm going to show you frame number 398.                   10 jacket.
11 Do you see your, again, your red and white                      11    a. Do you have any reason to dispute that
12 motorcycle jacket where I have the cursor?                      12 that's your hand on the baton?
13    A. Yes.                                                      13    A. Yes. Because you're insinuating that I
14    Q. Do you see what appears to be a baton                     14 hurt someone and I know I didn't.
15 where I have the cursor?                                        15    Q. On the frame number 424. Do you see
16    A. Yes.                                                      16 that?
17    a. Do you see what appears to be a hand                      17    A. I do.
18 where I have the cursor?                                        18    Q. Again, do you recognize that as being
19    A. It could be.                                              19 your red and white motorcycle jacket?
20    Q. If I was to tell you that there's an                      20       A. It, it could be.
21 expert who will say, based upon his examination                 21               MR. HUNT: Mr. Link, just so I'm
22 and his compelling of this video, that that's                   22    following through. You say 424, but you're not
23 your hand, what is your response to that?                       23    referring to that video. You are referring to the
24    A. Looking at it here, I'm not sure whose                    24    video on the left side of Mr., Dr. Walls-Kaufman
25 hand that is.                                                   25    screen. Is that?


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 1    a. I'm on video 398. I'll ask the same                        1              MR. LINK: That's true.
 2 question moving forward, just a few frames to                    2              MR. HUNT: Okay.
 3 frame number 402. Is that your hand on the baton                 3              MR. LINK: The way I understand
 4 that just we just saw move about?                                4 the page numbering, it just refers to the whole
 5    A. I would definitely dispute that.                           5 screen and I'm not trying to be ...
 6    Q. I'll just stop here frame 404 change,                      6          MR. HUNT: Yes. I just want to
 7 where I have the cursor, does that appear to be                  7 make sure I'm following is what I'm.
 8 your red and white motorcycle jacket?                            8          MR. WASER: Yes. This is David
 9    A. Or is it somebody standing behind me                       9 Weber speaking. I just want Mr. Hunt has this
10 with a MAGA hat? I don't know.                                  10 display, this is a PDF slide deck. When we're
11    Q. I'm on frame 417. Would you agree                         11 referencing the page numbers, it is true that
12 that's you with the red and white motorcycle                    12 there are multiple images on the page, but each
13 jacket?                                                         13 page has each of these images. When it references
14    A. That looks like my motorcycle jacket.                     14 page 424 in the lower right, all of these images
15    Q. That frame 418, that's, that is the                       15 are on page 424 of Mr. Hunt, so you have this,
16 sleeve where I have my cursor of the                            16 it's part of the expert's report.
17   motorcycle ...                                                17            MR. HUNT: Yeah, I know. I just
18      A. Yeah, that my motorcycle jacket.                        18 want to know which screen we're looking at. I
19      Q. You'd agree that 418, that's your hand                  19 just want to make sure I'm looking at the right
20   on a baton?                                                   20 screen.
21      A. Well, technically I'm going to say I'm                  21            MR. WASER: The one on the left is
22   not sure where that hand is coming from. I'm not              22 the body cam, the one on the right, the open
23   going to try and be difficult, but no, I'm not                23 source video.
24 sure what the source of that hand is. That's my,                24          MR. HUNT: Exactly.
25 I would agree that that's my motorcycle jacket.                 25          MR. WASER: Okay.




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 1 CONTINUATION OF DIRECT EXAMINATION                                 1      A. That's my arm and hand.
 2 BY MR. LINK:                                                       2      Q. Your right hand is up like in the stop
 3     Q. I think I was asking you, where the                         3 sign correct?
 4 cursor is on the picture on the left on page 424.                  4    A. The, the where your cursor is. Is that
 5 Is that your motorcycle jacket?                                    5 my hand you're saying?
 6     A. I'm not sure. I don't remember any                          6    Q. Yes.
 7 markings like that.                                                7    A. No. I won't agree that that's my hand.
 8     Q. Back three frames of 421. Does that                         8    Q. How about the left and at the bottom of
 9 appear to be your motorcycle jacket?                               9 the screen on the body cam video on the left at
10     A. Possibly.                                                  10 458?
11     Q. It like a technique or a technique                         11     A. Yes, that appears to be my hand.
12 motorcycle deck?                                                  12     Q. But the last couple brushes on this
13     A. I don't remember. I haven't seen it in                     13 topic, do you agree or disagree that you struck
14 four years.                                                       14 this officer with the baton and the chest area at
15     Q. Just so for purposes of completeness at                    15 least one time?
16 427. On the left of the screen on the body cam,                   16     A. Never, never happened.
17 is that you?                                                      17     Q. Do you agree or disagree with this
18     A. Yes.                                                       18 officer at least one time in the face area with
19     Q. Would you agree in the prior frames I                      19 the baton?
20 was showing you from 420, God, wait at least 410                  20    A. Would you repeat that please?
21 to 427. That was you swinging the baton in the                    21     Q. Would you agree or disagree that you
22 direction of the officer who was in front of you?                 22 struck this police officer at least one time in
23     A. You're saying I'm swinging the baton in                    23 the face area with the baton?
24 those frames?                                                     24    A. Never.
25     Q. Moving the baton. I'll do it again from                    25     Q. Right. It's 2:55 p.m. I need a five-


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 1 410. Actually for completeness I just stopped at                   1 minute break.
 2 439. I'll go, I'll do it to be, I'm trying to be                   2           MR. HUNT: Can we get 10? I mean
 3 complete. It's 420 to 439. My question, is that                    3 it seems like you got a lot more to go through.
 4 you swinging the baton in the direction of the                     4           MR. LINK: That is fine.
 5 police officer?                                                    5           MR. HUNT: Yes.
 6    A. No, I'm not swinging the baton.                              6           MR. LINK: After 3 O'clock coffee.
 7    Q. Would you agree that you had a hold of                       7           MR. HUNT: Yes, exactly.
 8 the baton and it was, you moved it in the                          8           COURT REPORTER: We are off the
 9 direction of the police officer who was swinging                   9 record at 2:55 p.m.
10 the front?                                                        10 (OFF THE RECORD) (2:55 p.m.)
11           MR. HUNT: Objection to the form                         11 •(WHEREUPON, a short break was taken.)
12 of question. You can answer.                                      12 (ON THE RECORD) (3:15 p.m.)
13     A. It's a possibility that I had my hand                      13           COURT REPORTER: We're back on the
14 on at the baton, in the effort of reaching out                    14 record at 3:15 p.m.
15 for any port in the storm to keep from losing my                  15           MR. LINK: Dr. Kaufman, I just
16 balance and going down, being hurt.                               16 wanted to follow up.
17    Q. Then moving forward. I just want to                         17            MR. HUNT: Can you, just to ask a
18 provide context on this forward so you can see                    18 question Mr. Link. How long do you think, I won't
19 what I'm talking about. Do you agree from, say                    19 hold you to it, but how long do you, another hour
20 frame number 420 to 424, you were depicted in the                 20 or two, or quite some time? You can say quite, I
21 body cam video from 420 to 464, you're depicted                   21 say an ...
22 on the body cam video on the left of the screen?                  22            MR. LINK: I say an hour and a
23    A. Yes.                                                        23 half.
24    Q. That page 458, that's you and your red                      24            MR. HUNT: Okay.
25 and white motorcycle jacket, 458?                                 25            MR. LINK: It's my best estimate.




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 1            MR. HUNT: I'm not holding to it.                       1      A. Well, I, I basically remember the four
 2 I was just asking.                                                2 parts of stopping him and, you know, then, then
 3            MR. LINK: Yeah, fair enough.                           3 things getting pushed all around, grabbing, being
 4 CONTINUATION OF DIRECT EXAMINATION                                4 pulled, coming to my balance and then walking
 5 BY MR. LINK:                                                      5 out. That's pretty much it. Is that clear? I, I
                                       - -~~---        --

 6   Q. Dr. Kaufman, do you remember having any                      6 don't know.
 7 other interaction with MPD officers as you exited                 7      Q. You mentioned a few times, I think you
 8 the building that day?                                            8 used the words sensory overload during the course
 9     A. No.                                                        9 of today ...
10     Q. Is this visible to everybody?                             10      A. Yes.
11            MR. WASER: Yes.                                       11      Q. Sensory overload?
12     Q. This is the same slideshow, although                      12      A. Yes.
13 I've fast forwarded a little bit, let me go                      13      Q. What does that mean?
14 backwards. Does this appear to be again, the exit                14      A. Sensory overload means there's so much
15 way of the Capitol building at about 1456 on                     15 stimulation coming in. It's hard for the brain to
16 January 6th, 2021?                                               16 grab it all.
17    A. Yes.                                                       17      Q. Perfect.
18     Q. You would agree that you'd exited and                     18      A. It's so much unusual information that
19 left the building shortly after the interaction                  19 it's hard for the brain to grab it all.
20 that we just spent some time on?                                 20      Q. As we sit here and discuss these events
21     A. Immediately after.                                        21 from January 6th, 2021, would it be fair to say
22     Q. While you were leaving the building                       22 that your memory might be incomplete?
23 that day, did you grab the baton of another MPD                  23      A. Well, about specific details, yes,
24 police officer? Do you recall that?                              24 there might be some lack of clarity, but there is
25    A. I had, I had, no, I have no                                25 no lack of clarity about the idea that I did not


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 1 recollection memory of that.                                      1 raise my hand against anyone or hurt anyone.
 2     Q. Do you see, on the page number 772, do                     2    Q. I guess the question is if you don't
 3 you see the red and white jacket that we've been                  3 have a clear memory, how can you be so sure of
 4 much discussed today?                                             4 what it is you've forgotten or what you remember?
 5     A. Yes.                                                       5     A. Because you've, you've got your average
 6     Q. Do you see a right hand above the red                      6 information going on, and then I would certainly
 7 line?                                                             7 remember acting out in violence and hurting
 8     A. Yeah, that might be a hand.                                8 someone and bringing the world down upon my head.
 9     Q. If I was to represent you that the                         9 I would certainly remember that.
10 video expert will say that that's your right hand                10      Q. But you as a doctor would agree that
11 on another police officer's baton, would you have                11 you're basically, doing your own posts after the
12 any reason to dispute that?                                      12 fact analysis as far as why you might not
13    A. Yes.                                                       13 remember something. Correct?
14     Q. You would dispute that?                                   14      A. I certainly would remember striking a
                                                                                                                           '
15     A. Yes.                                                      15 police officer. I have police in my family, one
16     Q. Why?                                                      16 of my best, a very close friend died in the line
17     A. Because I have no recollection of my                      17 of duty. It's just not something I would ever do
18 hands ever being that high or, or reaching up in                 18 or come close to doing.
19 any way, you know, other than like a flail.                      19      Q. With respect to everything we've
20    Q. Do you remember in any way there were                      20 discussed today and your deposition, would it be
21 punches or fist thrown before you?                               21 your testimony that your memory is 1000 percent
22     A. No.                                                       22 completely and accurate as to all events that
23     Q. Let me ask you this question, Dr.                         23 occurred?
24 Kaufman. Do you have a clear memory of what                      24      A. My memory is ...
25 happened in the exit of the building th.at day?                  25             MR. HUNT: Objection to the form




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 1 of the question. You can answer Dr. Kauffman.                     1 I'll tell you this. You know, I, I have a
 2      A. My memory is 1,000 percent clear that I                   2 reluctance to answer because we have a forensics
 3 never raised my hand or hurt or intended to hurt                  3 report that came in and it said that the video
 4 an officer that day. To put it in perspective,                    4 that you have your side has been handling is
 5 you know, my life is 68 years long and a lot of                   5 tampered with.
 6 it is very very fuzzy and hazy, but never once in                 6    Q. It's okay.
 7 my life have I ever raised my hand to a police                    7    A. So reluctant to go along and agree with
 8 officer or tried to hurt them.                                    8 anything that you've got my hand put on anything.
 9     Q. I guess I want to talk about what you                      9    Q. Which video do you claim has been
10 just told me a little bit, because you said, with                10 tampered with?
11 respect to the events that we just talked about                  11    A. We have an extensive forensics report
12 and spent a lot of time about at the exit, you                   12 and analysis of frame by frame that your video is
13 remember four basic things? I think he used the                  13 tampered with.
14 words four basic things, concerning the gentleman                14    Q. Do you know which video that is?
15 who was having a meltdown in your response?                      15    A. Video relating to my hands on, on
16     A. Yes, the highlights.                                      16 batons.
17     Q. You would agree that your brain has                       17    Q. Do you know who prepared that report?
18 retained what you, in your own mind feel, are the                18    A. It was, it was forwarded to us as a, as
19 highlights of the event and have disregarded and                 19 an amicus gesture.
20 or not retained those things that you didn't feel                20    Q. Going through the name. Do you know the
21 were important? Correct?                                         21 name of that person?
22     A. There is no chance I raised my hand to                    22    A. It's anonymous.
23 a police officer or tried to hurt a police                       23    Q. Did you get the letter or did your
24 officer or do anything to a police officer. I,                   24 counsel?
25 you know, where my hands were as I was trying to,                25    A. My counsel.


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 1 you know, save myself and not getting pushed and                  1    Q. How specifically was any video tampered
 2 shoved all over the place and losing my feet. You                 2 with, to use your words?
 3 know, I can't attest to where my, where my hands                  3    A. It went through with time signatures
 4 were or what I grabbed onto, but I am 1,000                       4 and showed how the video had been edited.
 5 percent certain, that sensory overload has not                    5    Q. Are we talking a body cam or a public
 6 pushed out of my head the fact that I committed                   6 access video, or do you know?
 7 any harm against a police officer.                                7    A. Public access.
                                                                      I


 8    Q. I asked you questions a few moments ago                     8    Q. Do you know of anything about the
 9 about grabbing a baton. Do you remember those                     9 qualifications of the person who stating that
10 questions?                                                       10 there's a bench tampering?
11     A. Yes.                                                      11    A. Judging from the details, they were
12     Q. I think you told me worse the effect                      12 pretty sophisticated.
13 that you didn't, I think your first memory was                   13    Q. What details?
14 you didn't grab a baton, correct?                                14    A. That the video had been tampered with
15     A. I, I don't remember grabbing a baton.                     15 to make it look like I did something that I did
16     Q. If there's video evidence that disputes                   16 not.
17 that, would you agree that's a sign that you                     17     Q. What specifically did it make it look
18 don't have a full and complete memory of what                    18 like you did that you did not?
19 happened that day?                                               19     A. Well, if I was going to put it in my
20            MR. HUNT: Objection to the form                       20 own words, I would say that the analysis of the
21 of the question. You can answer.                                 21 video, what the, what the anonymous person had
22     A. Well, you know, when you're getting                       22 said was that the video was trying to cast me in
23 pushed all over the place and you're grabbing                    23 a very bad light and that the, the video had been
24 anyone and anything just to keep control of your                 24 edited to put things together that were not, were
25 body and not get hurt, it's a possibility. But                   25 not in sequential order and we're not real.




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 1    Q. Is this like in the form of a forensic                     1 CONTINUATION OF DIRECT EXAMINATION
 2 report or a letter or how does this ...                          2 BY MR. LINK:
 3    A. A forensic report with frame by frame                      3      Q. Other than that Gem, is there anything
 4 analysis.                                                        4 else that makes you dispute the validity of the
 5    Q. Does this report explain how somebody                      5 video evidence that's been provided?
 6 could do that or how it was done?                                6      A. You said Jim?
 7     A.    It did not.                                            7      Q. Gem, G-E-M, pejorative term gem. Other
 8     Q. Does the report explain how there could                   8 than that...
 9 be synchronization of frames if there's been some                9    A. I'm sorry, I'm confused.
10 type of tampering with videos, one of which                     10            MR. WABER: He didn't get your
11 presumably wasn't tampered with and other was, do               11 joke Link.
12 you know?                                                       12    Q. Is there any other document which you
13     A. I don't know.                                            13 have or that you're aware of that disputes the
14     Q. Is the person who makes this claim                       14 authenticity of the video evidence in this case?
15 anonymous?                                                      15    A. No.
16     A. Yes.       I                                             16      Q. Have you, Dr. Kaufman, having just
17     Q. Do you have any identifying information                  17 looked at this PDF document, having gone through
18 on this person?                                                 18 it, is there anything in there that you believe
19     A. No.                                                      19 from your own eyeballing it, pairing with what
20     Q. Do you have access to this letter or                     20 you were there and observed, is there anything
21 report or whatever it is?                                       21 that you think was inaccurate in those videos?
22     A.    Yes.                                                  22      A. Oh, I'm not, I'm not sure. I mean, I,
23     Q.    Do you have a copy with you today?                    23 you know, I saw, you know, images and, you know,
24     A.    No.                                                   24 it's just sort of a tangle of, of bodies. So
25     Q.    Does your counsel have a copy with him                25 without going through it, I would not want to,


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 1 today?                                                           1 you know, commit and say yes. It looks all, all
 2    A. No.                                                        2 kosher to me, especially in the context of, you
 3     Q. Where is it?                                              3 know, video being tampered in this case, tampered
 4     A. Oh, he may let me.                                        4 with in this case.
 5             MR. HUNT: You are referring to                       5    Q. Just, I guess I want to drill down a
 6 me. I don't have it.                                             6 little more. Is this one video or multiple videos
 7   Q. Does some other lawyer have it?                             7 that had been tampered with?
 8     A. Yes.                                                      8    A. It was it; it was multiple videos that
 9     Q. Who?                                                      9 had been tampered with.
10     A. Mr. Shore                                                10         MR. HUNT: Hey, Mr. Link if you
11             MR. LINK: Council we can agree,                     11 want to give me five minutes, maybe we can try to
12 at least I haven't seen a copy of this?                         12 rustle it. It's got to be somewhere. Let me see
13            MR. HUNT: We can agree that both                     13 if we can rustle it up right quick. Let five
14 of us haven't seen a copy. I mean ...                           14 minutes.
15          MR. WABER: For the record, David                       15             MR. LINK: I do need to see what's
16 Weber hasn't seen it either. All of appear, all                 16 being discussed. Yes, thank You.
17 of counsel of record have not seen this.                        17             MR. HUNT: Okay.
18              DEPONENT: I thought that Hughie                    18             MR. LINK: We're off the video,
19 had seen it. I thought that we had it had been                  19 not, off the record. Off the screen. Off.
20 shared with him, so that was an error, but we've                20            COURT REPORTER: Yes, we are, at
21 got it.                                                         21 3:35 p.m.
22              MR. LINK: Well if you could                        22 (OFF THE RECORD) (3:35 p.m.)
23 provide that to your counsel now that I know of                 23 (WHEREUPON, a short break was taken.)
24 its existence so we could look at it.                           24 (ON THE RECORD) (3:40 p.m.)
25              DEPONENT: Okay.                                    25        COURT REPORTER: We are on the




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 1 record at 3:40 PM                                                  1 case was going to do. But if we're moving
 2           MR. HUNT: We took a break                                2 forward, I will definitely get a forensic expert.
 3 regarding a forensics or anonymous forensics                       3    a.   Let me ask you this, just as the
 4 report after consultation with prior counsel. The                  4 witness, not as a lawyer. If you had truly felt
 5 report exists, but it's on a hard drive that he                    5 that the allegations in your case were based upon
 6 has to extract the report. It's going to take a                    6 fraud, what I hear you saying, why wouldn't you
 7 few days to actually be able to get that, but we                   7 have done it before today?
 8 should be able to provide it with the next seven                   8           MR. HUNT: Objection to the form
 9 days, which would take us to March 4th. Well, I                    9 of the question. You can answer.
10 guess it would be what, March 6th?                                10           DEPONENT: I can answer?
11             MR. LINK: That's fine. Wait, the                      11           MR. HUNT: Yes, you can answer.
12 March 6th?                                                        12     A. So when you falsely accused me you, you
13             MR. HUNT: Yes. March 6th. Yes.                        13 know, popped the genie out of the bottle, there's
14             MR. LINK: Ms. Smith is scheduled                      14 no way I can, I can claw this back. So, you know,
15 while I'm thinking about it, I might never think                  15 just to save myself aggravation and save myself
16 about it...                                                       16 expense, you know, I just pigeonholed this whole
17             MR. HUNT: March 6th, I want to do                     17 farcical case of yours and didn't want to think
18 the notice of deposition, probably in the morning                 18 any more about it, but you can be sure that if
19 as long as that date is still fine, 1O: 1O a.m.                   19 this keeps going forward, that we're going to
20           MR. LINK: Can I have a nod from                         20 explore that.
21 Mr. Erin?                                                         21     a.   Mr. Hunt, if as of when there's a
22 (WHEREUPON, Mr. Weber indicated affirmatively.)                   22 document, I would just reserve the right to it,
23           MR. LINK: Okay. Yes, that that                          23 maybe after we're done with this deposition to
24 works.     I                                                      24 ask questions about it since I don't know what
25           MR. HUNT: Okay, perfect.                                25 I'm about to see.


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 1         MR. LINK: That was on the record                           1           MR. HUNT: Okay. Yes, I mean, what
 2 where our court reporter                                           2 I'm hearing is you want to keep the deposition
 3         MR. HUNT: Yes. She put it on She                           3 open for submission of the report.
 4 came back in, went on the record.                                  4           MR. LINK: Whatever it is.
 5         COURT REPORTER: Yes, it's on the                           5           MR. HUNT: I'm assuming, I mean, I
 6 record.                                                            6 don't know that you can, you want to try to
 7 CONTINUATION OF DIRECT EXAMINATION                                 7 piggyback off of her deposition on that day?
 8 BY MR. LINK:                                                       8           MR. LINK: Why not, how long are
 9     a.  While we're on this brief detour, I'll                     9 you going to be? We can talk about timeframes. We
10 just round it up and then I'll move on. Do you                    10 don't...
11 have any information as far as who would be                       11           MR. HUNT: Yes, I mean, we'll work
12 responsible for tempering videos?                                 12 with you on that. I mean, I'm not worried about
13    A. Is that for me?                                             13 that.
14     a. Yes.                                                       14           MR. LINK: Okay. Dr....
15    A. No, I have no idea.                                         15           MR. HUNT: Let the record reflect
16     a. I understand that you don't have an                        16 that. Dr. Weber gave the thumbs up.
17 expert witness who's going to say that videos                     17           MR. WASER: I, for the record, I'm
18 were tempered in this case, tampered with. Is                     18 basically saying that I am of course willing to
19 that true?                                                        19 be cooperative with opposing counsel. That was
20    A. Hughie?                                                     20 what my thumbs up meant that. Mr. Hunt has been
21           MR. HUNT: I can't answer the                            21 very courteous and we're not making any
22 question for you so you're going to have to                       22 allegation that Mr. Hunt has done anything that
23 answer the question the best way you know how.                    23 we're aware of.
24    A. Yeah. I had not engaged a, a forensic                       24 CONTINUATION OF DIRECT EXAMINATION
25 expert outside yet. I was just saying what this                   25 BY MR. LINK:




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 1     Q. The YouTube video that you gave                           1    A. I'm sorry?
 2 testimony about earlier today that you said was                  2    Q. You told the sentencing court in US
 3 destroyed, as best as you can tell us, when was                  3 District Court, in DC that the video had been
 4 it destroyed?                                                    4 deleted?
 5    Q. No, it wasn't. to my knowledge, it has                     5    A. I, I'd have to review my testimony. I
 6 not been destroyed because I'm, I'm not afraid of                6 don't, I don't remember off the top of my head
 7 anything that it shows or says. As I said, just                  7 remarking on it.
 8 details and giving irresponsible persons more                    8    Q. Anything else you deleted in connection
 9 details about my whereabouts.                                    9 with this case besides the YouTube video?
10    Q. I'm going to get personal here. You                       10    Q. Not to my knowledge.
11 said that it was deleted or taken down that, so                 11    Q. Let me move on to a different topic. Do
12 you, that's different than destroying it.                       12 you currently own any real estate?
13    A. Yeah, to my knowledge, it was not                         13    A. No.
14 destroyed. It was simply taken down.                            14    Q. At what point do you own 11 East
15    Q. Where is the receipt here today?                          15 Capitol Street?
16    A. Ms. Statt would have it.                                  16     A. Yes.
17    Q. How do you spell Statt?                                   17     Q. According to the land records of the DC
18    A. S-T-A-T-T.                                                18 recorder of these?
19    Q. Where is Ms. Statt?                                       19            MR. HUNT: I'm sorry, Mr. Link,
20    A. She's in Washington, DC.                                  20 let me, I got to deal with that. Sorry, somebody
21    Q. Can you be more precise?                                  21 just rang the doorbell me, let me just blow.
22    Q. I don't have her address. I can provide                   22            MR. LINK: Okay, go.
23 that, that for you. She was a Tai Chi student of                23            MR. HUNT: Sorry to interrupt, but
24 mine who could do web stuff.                                    24 please continue.
25    Q. Like the video still lives on in some                     25     Q. According to the records of the DC


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 1 type of?                                                         1 recorder of the office, that property was sold in
 2      A. To my knowledge, yes. I specifically                     2 September, 2023?
 3 asked her about that a couple of years ago and                   3     A. I'm going to refuse to answer.
 4 she said yes. At that time, it was still around.                 4            MR. HUNT: You can answer that
 5      Q. Do you yourself have a YouTube channel?                  5 question.
 6      A. I think I do. I don't use it, but it's,                  6     A. Okay.
 7 I want to start using it at some point in time in                7     Q. There's public record. Right?
 8 the near future. But yes, it's, I guess I do, ,                  8     A. Yes.
 9 it's a, it's a YouTube channel and it's got Tai                  9     Q. According to the deed, it was signed by
10 Chi stuff on it and chiropractic stuff on it.                   10 Nervine Sorta, S-O-R-T-A, is that your
11    Q. I know that YouTube channels usually                      11 girlfriend?
12 have a name, right?                                             12           MR. HUNT: Objection.
13    A. Yes.                                                      13    A. No
14    Q. What's the name of it?                                    14           MR. HUNT: I understand where
15    A. I don't know, but I think it's either                     15 you're going with this and you're entitled to ask
16 Capitol Hill Tai Chi or Dr. David Walls-Kaufman.                16 some questions about property owns, but his
17     Q. In relation to this lawsuit that was                     17 motivation and all that, that's just, that's
18 filed in August 21. Did you delete the video                    18 collections. It's not a collections case just
19 after you learnt of this lawsuit?                               19 yet.
20     A. Yes.                                                     20           MR. LINK: Well, I think we are
21     Q. To back up, you did tell the FBI that,                   21 entitled with this information on the property
22 that video, the YouTube video of your interview                 22 that he owns.
23 had been deleted?                                               23           MR. HUNT: He doesn't own it
24     A. Yes. Taken down.                                         24 anymore. He sold it.
25     Q. Told the court that had been deleted?                    25           MR. LINK: But there would be




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 1 proof of these.                                                    1              MR. WASER: We're on the final
 2            MR. HUNT: Yes, but that's                               2 page of the decision.
 3 collections brother. I got to object on that one.                  3              MR. HUNT: Yes, I'm okay. Yes. I'm
 4            MR. WASER: Mr. Hunt...                                  4 on case text and it's the 2022 decision.
 5            MR. HUNT: I would like ...                              5           MR. WASER: No, this is not a 2022
 6            MR. WASER: Excuse me, Mr. Hunt, I                       6 decision. I'll read you what it says. I'm, this
 7 would like to draw to your attention the case of                   7 is court reporter. May I share the screen?
 8 Freeman versus Rudolph Giuliani, 2023 Westlaw                      8              COURT REPORTER: Yes, you may.
 9 11926310, filed in the District of Columbia,                       9              MR. WASER: Mr. Hunt, you able to
10 United States District Court and signed by the                    10 see the screen?
11 chief judge of the United States District Court                   11              MR. HUNT: Yes, I can see it.
12 indicating that discovery was permitted as to all                 12           MR. WASER: Here where my cursor
13 financial records, prejudgment of another January                 13 is. My contrast here. Defendant's financial
14 6th defendant, Mr. Giuliani, and that it was                      14 condition is relevant both to liability and
15 permitted both because it was appropriate                         15 punitive damages. Plaintiffs argues ...
16 discovery as to Mr. Giuliani's motivations and                    16              MR. HUNT: This is not relative,
17 because the plaintiffs were seeking punitive                      17 relevant to liability. Has nothing to do with
18 damages. As such a binder of fact, including both                 18 liability.
19 the court and the jury were entitled to consider                  19              MR. WASER: The plaintiffs argue
20 such issues as punitive damages. Both of these                    20 these financial records, including changes in the
21 findings are identical in our case, and we will                   21 defendant's financial status over time may
22 be prepared ...                                                   22 indicate that defendant has a financial motive to
23            MR. HUNT: I'm looking at the case                      23 make certain claims to allow him to earn
24 right now. What is the Georgia case? I think here                 24 additional income or increase viewership, and
25 we see.                                                           25 then it gives a bunch of sightings.


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 1            MR. WASER: Sir, I'm referring to                        1              MR. HUNT: Yes, but this doesn't
 2 a case involving the chief judge of TDC and it                     2 have, even if we accept that part, this has
 3 has since been cited by other courts.                              3 nothing to do with liability.
 4            MR. HUNT: I'm just making sure I                        4           MR. LINK: This was; this was pre
 5 got the right case. This is it I think.                            5 liability stage in this decision.
 6            DEPONENT: Well, is this a January                       6             MR. HUNT: Yes, but what it, just
 7 6th case?                                                          7 reading that order, it says it has, in that case,
 8            MR. HUNT: There's no question                           8 his actions had to do with liability and damages,
 9 Mr., Dr. Kaufman. Is there a specific site, like                   9 any action. Okay?
10 a page you want me to go to or? I mean, I'm                       10              MR. WASER: You can ...
11 trying to look for the actual site. This is, do                   11              MR. HUNT: You can make a record.
12 you have the actual cited place that you want me                  12           MR. WASER: Yes, but you can make
13 to go look? Because that's the entire case. I'm                   13 a record. We can get the judge on the phone now
14 assuming there's language you want me to see that                 14 if we have to go ahead asking these questions.
15 says discovery on assets, free judgment is                        15              MR. HUNT: Go ahead, call the
16 allowed?                                                          16 judge.
17            MR. WASER: Yes. If you go to, I'm                      17              MR. WASER: No, we don't need to
18 confused as to whether it's page six of the                       18 call the judge unless you're going to instruct
19 Westlaw or Lexis.                                                 19 clients and refuse to answer the questions.
20            MR. HUNT: That's it. Let me get                        20              MR. HUNT: Well, I don't know what
21 the site again. It's, but it Freeman versus                       21 I'm going to refuse for him to answer ask. But
22 Giuliani, correct?                                                22 anytime you go into a this is a TOR case. I've
23            MR. WASER: Yes.                                        23 never seen a defendant go into deep detail on a
24           MR. LINK: The version I have is                         24 defendant's financial situation. That's why we
25 only three pages for the record.                                  25 law...




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 1              MR. LINK: I did well then also                       1      A. He told me that he wanted an office
 2 perform jury instruction on punitive damages,                     2 closer to home.
 3 does allow the jury to consider financial                         3    Q. Are they paying you every month out of
 4 condition of the defendant along all factors. I                   4 the note?
 5 think under that we review detail to this
                                              ~
                                                                     5    A. Yes.
 6 information.                                                      6      Q. Is this a balloon note? It's supposed
 7              MR. HUNT: Okay.                                      7 to come due in 2028? Is that how it's supposed to
 8              MR. LINK: That's my two cents. I                     8 work?
 9 did look at the jury instruction before.                          9      A. Yes. It has an option for 2030.
10              MR. HUNT: All right.                                10      Q. How much is he paying you? How much is
11              MR. WASER: I'm sorry, I got hot.                    11 the buyer paying you?
12 It's not you Mr., I know you're doing your job.                  12      A. Monthly?
13              MR. HUNT: Go ahead.                                 13      Q. Yes.
14              MR. LINK: I was stuck on a deed.                    14      A. I think $2,100, $2,200, something like
15 CONTINUATION OF DIRECT EXAMINATION                               15 that.
16 BY MR. LINK:                                                     16      Q. Other than that, do you own any real
17   Q. Were you locked up when the property                        17 estate?
18 was sold to get to the chain?                                    18      A. No.
19     A. Yes, I was.                                               19      Q. Have you owned any real estate in the
20     Q. Is that why you had the Devine Sorta to                   20 last three years?
21 sign the deed?                                                   21      A. How many years?
22     A. Yes.                                                      22      Q. Three years?
23     Q. Did you finance the sale of the                           23      A. No.
24 property or the purchase, whatever you wanted to                 24    Q. Do you not own a, have any interest in
25 say?                                                             25 any business of any kind?


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 1     A. Yes, I did.                                                1      A. No.
 2     Q. The property was purchased by 411 East                     2      Q. In connection with your public, your
 3 Capitol LLC?                                                      3 books, do you receive income from that?
 4     A. Yes.                                                       4    A. No. Not really. No.
 5     Q. Have you been to the property since you                    5    Q. Like when people go in Amazon and buy
 6 sold it?                                                          6 your books, you don't get paid?
 7     A. Yes.                                                       7      A. Well, it's on hold. because Amazon
 8     Q. In what connection?                                        8 wanted to pick up Robot Archangel, so it, it was
 9     A. I think I picked up mail.                                  9 to be rereleased. That's not happened.
10     Q. Besides that?                                             10      Q. When's the last time you got any money
11     A.     I don't believe so. I've been past it.                11 from the books?
12    Q. Before this all went down, did you know                    12      A. About a year ago.
13 Mr. Jeff Levi, who's the president of 411 East                   13      Q. How much did you get left? That was in
14 Capitol LLC?                                                     14 2024?
15     A.     No, I did not.                                        15      A. Yes.
16     Q. According to Mr. Google, he is a                          16      Q. How much did you obtain in that?
17 specialty lending may be a hard money lender for                 17      A. You know, very little. I haven't been
18 his company's. Are you aware of that?                            18 able to pro the Robot Archangel came out right
19    A. I think he does real estate. That's the                    19 when this happened, so I couldn't promote the
20 extent of my knowledge.                                          20 book.
21    Q. If you know, do you know why that                          21      Q. Less than $10,000. You were about to
22 entity financed the purchase?                                    22 say very little. I don't know what that means?
23     A. Well, did I finance the purchase?                         23      A. Yeah, less than a thousand.
24     Q. Yes. Why did they obtain financing to                     24      Q. You told me earlier today you're not
25 purchase the property, do you know?                              25 currently employed other than maybe being a




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 1 writer?                                                        1      A. No.
 2     A. Right.                                                  2      Q. What kind of car do you have?
 3     Q. How do you support yourself?                            3    A. I have a Hyundai Elantra and I have an
 4    A. The mortgage payment and a social                        4 Alfa Romeo.
 5 security check.                                                5    Q. You still look the word I'm familiar
 6    Q. What, at what age did you start                          6 with. What year is your Hyundai Elantra?
 7 collecting social security?                                    7    A. 2025. It is a lease.
 8     A. Last year?                                              8      Q. You're paying monthly on a lease?
 9     Q. Sixty-six?                                              9      A. Yes.
10     A. Sixty-seven.                                           10    Q. Then Alfa Romeo, is that owned free and
11     Q. Are you familiar with an answer you                    11 clear by you?
12 called Counsel on Chiropractic Practice?                      12      A.   No. No.
13     A. Yes.                                                   13      Q. What year is that vehicle?
14     Q. Is that different than the organization                14      A. 2023.
15 we talked about earlier today?                                15      Q. How much is a 20, how much is an Alfa
16     A. Yes.                                                   16 worth?
17     Q. What is the Counsel on Chiropractic                    17    A. That car is probably worth I, I don't
18 Practice?                                                     18 know. I would say, I'd say $35,000.
19   A. Counsel on Chiropractic Practice is a                    19    Q. You owe any money on it?
20 committee that defines chiropractic practice                  20      A. Yes.
21 guidelines.                                                   21      Q. How much do you owe?
22     Q. Did you make money from that entity?                   22      A.   I think I owe $40,000.
23     A. No.                                                    23      Q. You're underwater on your Alfa Romeo?
24     Q. Are you a board member of officer or                   24      A.   Probably.
25 something else with that entity?                              25      Q. Anything else with an engine in it?


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 1    A. No, I was, I was, treasurer at one                       1      A.   No.
 2 point.                                                         2      Q. Does anybody besides 411 East Capitol
 3    Q. Since 21 have you had any paid position                  3 LLC owe you any money?
 4 with that entity?                                              4      A. No.
 5     A. No.                                                     5      Q. Did anybody die from whom you expect to
 6     Q. Ever talked about all the professional                  6 inherit?
 7 organizations that you have any association with?              7      A. Yes, my mother recently died.
 8     A. I'm sorry?                                              8      Q. Is that under probate?
 9     Q. Have you told me about all the                          9      A. Yes. Well, actually, I, I don't know.
10 professional organizations that you're associated             10 I, I'm not really technically sure if it is under
11 with?                                                         11 probate. I don't think it is. Oh, my stepmother
12    A. Yeah. I'm thinking about joining a new                  12 passed away over a, over a year ago. That is in
13 one that's, that's dealing with chiropractic                  13 probate with my sister. That's not going to be
14 education. There's, there's no money associated               14 much money and neither is my mom's.
15 in any of that.                                               15      Q. Can you give me an estimate where you
16     Q. No money associated with your                          16 say not much money?
17 professional associations?                                    17      A.   I would say that I, I would probably
18     A. Right.                                                 18 get $15,000 from my stepmom's estate and my mom
19     Q. Do you have a car?                                     19 had a, a big waive to me, a $67,000 stock
20     A. Yes.                                                   20 portfolio for mutual fund portfolio.
21     Q. Do you have a motorcycle?                              21      Q. What's your mom's name?
22     A. No.                                                    22      A. Catherine Holt Kaufman.
23     Q. You have a boat?                                       23      Q. ,Step-mother?
24     A. No.                                                    24      A. Phyllis Perry.
25     Q. Airplane?                                              25      Q. P?




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 1     A. P-E-R-R-Y.                                                1      Q. Are you saying that you are not current
 2     Q. Do you have any other assets of                           2 in your tax filing?
 3 significant time?                                                3    A. Yes, that's correct. She filed for
 4     A. Yes.                                                      4 extensions.
 5     Q. What else?                                                5    Q. 2023 would've been due. Regardless of
 6     A. I'm sorry?                                                6 that hasn't been filed?
 7     Q. What else besides what you told us?                       7      A. I, I don't know.
 8     A. Stock portfolio.                                          8      Q. Do you expect to afford the IRS money?
 9     Q. Is that under management with somebody?                   9      A. Yes, I do.
10     A. No.                                                      10      Q. How much do you expect to have to pay?
11     Q. You manage your own stocks?                              11      A. I have no idea.
12     A. Yes.                                                     12      Q. Other than the tax that the car, do you
13     Q. What do you estimate that would be?                      13 have any other credit?
14     A. $800.                                                    14    A. I can't think of any.
15     Q. Same question I had asked you. Any                       15      Q. Who's your accountant?
16 other significant property, is there anything                   16      A. Justine Wilborn.
17 else besides what you told them?                                17      Q. Yes, sir. Are you saying your
18     A. No.                                                      18 accountant is delinquent or you're delinquent on
19     Q. You get the balloon belt in 2028 or                      19 filing your taxes?
20 whenever it comes due, what is your expectation?                20      A. She's delinquent.
21 How much you get?                                               21            MR. HUNT: Objection to the form
22    A. I, I can't remember. I think it might                     22 of the question. I mean, ultimately it's his tax
23 have been maybe $500,000.                                       23 responsibility.
24    Q. You financed like $850,000 in 2023?                       24     Q. Fair enough. I'll take that. Do you
25    A. The purchase price was $1 million.                        25 have a look for a new accountant?


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 1     Q. Have you sold, transferred, or given                      1      A. No.
 2 away any property or would say a thousand,                       2            MR. LINK: I want to take a little
 3 $10,000 in the last three years?                                 3 break here. I have to use a little boys room.
 4     A. No.                                                       4          MR. WASER: No, you're human after
 5     Q. Other than the house you told us about?                   5 all, I mean.
 6     A. No.                                                       6           MR. LINK: I appreciate that.
 7     Q. Are you current on your car note?                         7            COURT REPORTER: All right, we are
 8     A. Yes.                                                      8 off the record at 4:16 p.m.
 9     Q. Where do the, what's the source of                        9 (OFF THE RECORD) (4:16 p.m.)
10 funds for that?                                                 10 (WHEREUPON, a short break was taken.)
11     A. Bank of America.                                         11 (ON THE RECORD) (4:27 p.m.)
12    Q. How much do you estimate you earned in                    12            COURT REPORTER: Okay, and the
13 2024?                                                           13 time is 4:27 p.m. We are back on the record.
14     A. I would say, it's really hard to say                     14 CONTINUATION OF DIRECT EXAMINATION
15 because the practice was bringing in very little                15 BY MR. LINK:
16 money, and my account is in arrears on filing due               16      Q. Just Dr. Kaufman, just a few other
17 to Covid. I, I don't, I don't think I made money                17 follow up questions. Do you have any idea how
18 and 2024 compared with my expenses. My income, I                18 much you're going to owe when the tax bill comes
19 don't think I had income until the car note of                  19 to you?
20 the Social Security. So probably maybe $10,000.                 20      A. No.
21    Q. Would it be the same or different in                      21      Q.   Has anybody given you an estimate?
22 2023?                                                           22     A. No.
23    A. Again, she has not done those, those                      23     Q. Do you remember the year that you last
24 taxes and there was that practice was making                    24 filed for taxes?
25 very, very little money.                                        25     A. I guess it was three years ago.




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 1   Q. 2021. You recall that April, 2020,                          1 office as my front desk person for a little while
 2 October 2022?                                                    2 before I closed the office.
 3   A. I don't know, 2021 or 2022 on that.                         3      Q. When did you last work for you?
 4 Yeah, I'm just not sure.                                         4      A. Up until when I closed the office.
 5    Q. You, well, is there any reason other                       5      Q. How many years?
                                                                                                                          -
 6 than your accountant issue that you have not                     6      A. Last, last April.
 7 taken care of what would've been come due in the                 7      Q. Like as of January 21, was she an
 8 last few years in terms of taxes?                                8 employee of yours?
 9     A. No. It's just her, it was just that.                      9      A. I think that's when she started doing
10     Q. Are you aware that taxes are due taxes,                  10 some work for me. My, my previous receptionist
11 returns need to be filed one on extension by                    11 was having some personal issues and I was having
12 October of each year? Are you aware of that?                    12 to miss work, so Staff filled in.
13    A. No. My emails were about a month ago                      13      Q. I asked you earlier today about, do you
14 and she said everything was okay.                               14 recall appearing a sentencing in federal court,
15    Q. Your testimony about the car, I think                     15 correct?
16 you said you is it Bank of America that financed                16      A. I'm, you mean related to January 6th?
17 the Alfa Romeo?                                                 17      Q. Correct?
18     A. Yes.                                                     18      A. Yes.
19     Q. Separate from that, do you have money                    19    Q. Obviously that was a big day, a court
20 in the bank?                                                    20 day?
21     A. Yes.                                                     21      A. Yes.
22     Q. Approximately how much?                                  22      Q. Did they take you away that same day
                                                                                     I
23     A. $3,000.                                                  23 or, or did they let you self-surrender to the
24    Q. Is that all of your bank checking                         24 court?
25 savings, money market?                                          25      A. They let me self-surrender.


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 1     A. Yes.                                                      1      Q. I think the judge gave you what, three
 2     Q. The stocks that you manage, is that                       2 months?
 3 what some company that you manage on your own,                   3      A. Two months.
 4 like a platform that you use?                                    4      Q. Two months. Do you remember at the
 5     A. Fidelity.                                                 5 sentencing the issu~ of your YouTube account came
 6     Q. Going well earlier today, it sounded                      6 up?
 7 like your LLC is no longer in good standing with                 7    A. Maybe it did. I'm not, I'm not really
 8 the CRA or whatever they call themselves now?                    8 sure.
 9     A.   Correct.                                                9      Q. Would you agree you don't remember all
10     Q. Do you have any interest with any other                  10 the details what happened at the sentencing?
11 ownership interest in any other entity?                         11      A. Yes, I would, I would, agree that I
12     A. No.                                                      12 don't remember all the details.
13     Q. By entity, your incorporation, LLC                       13    Q. Would you agree similarly; you don't
14 partnership?                                                    14 remember all the details of what happened when
15     A. No.                                                      15 you were in the Capitol building on January 6th?
16     Q. Have you had one in the last three                       16      A. I remember all the important ones.
17 years?                                                          17      Q. Lastly, I did provide, sent to your
18     A. No.                                                      18 counsel, an amended notice of deposition with
19     Q. Bettina Staff, is that the person who                    19 certain documents. I don't know if I can direct
20 you said is, has connection with the YouTube                    20 this to you or your counsel, but do you have
21 account?                                                        21 those documents with you today?
22     A. Yes.                                                     22    A. The documents pertaining to the
23     Q. Is she an employee or a former employee                  23 forensic analysis?
24 of yours?                                                       24      Q. No. There were financial documents. Mr.
25     A. She had, she had worked for me in my                     25 Hunt are you there?




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 1          MR. HUNT: Yes, I'm here.                                   1 Yes.
 2          MR. LINK: I don't think you                                2           DEPONENT: No, I'm fine with it.
 3 looked at my screen.                                                3 I'm fine with it.
 4          MR. HUNT: I'm here. Let me see.                            4           MR. HUNT: You waive his right to
 5 To be honest with you, you can look at the notice                   5 read.
 6 here. What were you looking for?                                    6           COURT REPORTER: Thank you. The
 7        ' MR. LINK: There was a request for                          7 deposition ...
 8 financial documents. Well, here, here's what I                      8          MR. LINK: Thank you. Have a good
 9 would like to do given that the lateness of the                     9 evening.
10 hour.                                                              10          COURT REPORTER: The deposition is
11              MR. HUNT: Okay.                                       11 concluded at 4:37 p.m.
12              MR. LINK: If we could, we might                       12 (WHEREUPON, the Deposition of DAVID CHADWICK
13   have to come back when we deal with this                         13 WALLS-KAUFMAN, D.C. was concluded at 4:37 p.m.)
14   anonymous letter thing.                                          14
15              MR. HUNT: Okay.                                       15
16              MR. LINK: If you could, if we                         16
17   could hold the record open, if there's anything                  17
18   in there, I would, be lengthy, but I would, if                   18
19 there's something that...                                          19
20           MR. HUNT: Yes, you don't get to                          20
21 read the closing right here.                                       21
22           MR. LINK: As it pertains to those                        22
23 documents I would want to see that.                                23
24           MR. HUNT: I have no, no                                  24
25 objection.                                                         25


                                                                195                                                               197

 1           MR. LINK: You think you're going                          1                CAPTION
 2 to be doing this Smith at 10 o'clock on what? The                   2
 3 sixth?                                                              3 The deposition of DAVID CHADWICK WALLS-KAUFMAN, D.C.,
 4           MR. HUNT: Yes, I'll have the                   \
                                                                       4 taken in the matter, on the date, and at the time and
 5 notice tomorrow, as long as that still works.                       5 place set out on the title page hereof.
 6           MR. WASER: To cgnfirm, is that                            6
 7 via Zoom or in person?                                              7 It was requested that the deposition be taken by the
 8          MR. HUNT: No, no Zoom. Who wants                           8 reporter and that the same be reduced to typewritten
 9 to come to Greenville?                                              9 form.
10          MR. LINK: Hold on that note.                              10
11 We're completed for today.                                         11 It was agreed by and between counsel and the parties
12            MR. HUNT: Yes, sir.                                     12 that the deponent will read and sign the transcript
13            MR. LINK: Don't make fun of                             13 of said deposition.
14 Prince George's County.                                            14
15            MR. HUNT: Now we are concluded                          15
16 for today it's being held open. You have the                       16
17 absolute right to read your deposition before                      17
18 it's entered to check for, you know, error, you                    18
19 know, check for spelling problems, you know,                       19
20 can't change your testimony we did want to change                  20
21 it you'd be subject to read deposition. You want                   21
22 to read your deposition before it's entered or do                  22
23 you want to waive that right?                                      23
24            DEPONENT: You mean me, Hughie?                          24
25            MR. HUNT: Yes, you the witness.                         25




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 2     SIGNATURE AND DELIVERY OF CERTIFIED TRANSCRIPT
 3    I, TAMARA LAQETIA ADAMS, Notary Public, do
 4 hereby certify that the forgoing matter was reported
 5 by stenographic and/or mechanical means, that same
 6 was reduced to written form, that the transcript
 7 prepared by me or under my direction, is a true and
 8 accurate record of same to the best of my knowledge
 9 and ability; that there is no relation nor employment
10 by any attorney or counsel employed by the parties
11 hereto, nor financial or otherwise interest in the
12 action filed or its outcome.
13     This transcript and certificate have been
14 digitally signed and securely delivered through our
15 encryption server.
16    IN WITNESS HEREOF, I have here unto set my hand
17   this 9TH day of APRIL, 2025.
18
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21
22
23 /s/ TAMARA LAQETIA ADAMS
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25 MY COMMISSION EXPIRES: 04/12/2027




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